                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    EDWARD A. WILLIAMS,                            :
                                                   :
          Plaintiff,                               :
                                                   :
                 v.                                :              CIVIL ACTION
                                                   :
    MERRICK B. GARLAND, et al.,                    :              NO. 17-2641
                                                   :
          Defendants.1                             :
                                                   :
                                                   :

                                             ORDER

         AND NOW, this 14th day of November, 2023, upon consideration of Plaintiff’s Motion

for Summary Judgment (ECF No. 72) and Defendants’ Motion for Summary Judgment (ECF

No. 73), and all papers submitted in support thereof or in opposition thereto, it is hereby

ORDERED that Plaintiff’s Motion is GRANTED for the reasons set forth in the accompanying

Memorandum. Accordingly, it is FURTHER ORDERED that Defendants’ Motion is

DENIED.

         IT IS SO ORDERED.


                                                       BY THE COURT:

                                                       /s/ John Milton Younge
                                                       Judge John Milton Younge




1
 Plaintiff originally brought this action on June 1, 2017, against the United States of America,
Attorney General Jeff Sessions, Acting Director of the Bureau of Alcohol, Tobacco, Firearms,
and Explosives Thomas E. Brandon, and Acting Director of the Federal Bureau of Investigation
Andrew McCabe. (ECF No. 1.) Pursuant to Federal Rule of Civil Procedure 25(d), Attorney
General Merrick Garland, Director Steven Dettelbach, and Director Christopher Wray are
automatically substituted as Defendants in this action.
